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DOCUMENT
RLECUTRONMSALY FILED
UNITED STATES DISTRICT COURT meee ahs :
SOUTHERN DISTRICT OF NEW YORK DOC #
ee ee eee ee ee em DATE Fi
UNITED STATES OF AMERICA
FINAL ORDER OF FORFEITURE
-VeO- AS TO SPECIFIC PROPERTY
ARTHUR BUDOVSKY, 13 Cr. 368 (DLC}
a/k/a “Arthur Belanchuk,”
a/k/a “Eric Paltz,”
Defendant.
eee eee eee ee HK HK

WHEREAS, on or about February 1, 2016, the Court entered

a Consent Preliminary Order of Forfeiture as to Specific

saRroperties/Money Judgment (the “Preliminary Order of Forfeiture”)

(Docket Entry 307), which ordered the forfeiture to the United

States of, inter alia, all raght, title and interest of ARTHUR
BUDOVESY, a/k/a “Arthur Belanchuk,” a/k/a “Eric Paltz,” (the
“Defendant”) in the following property:

a. Any and all assets on deposit in the following

accounts, and any and all property traceable to the
following accounts:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Account Name Bank Country Account Number

1, Budovsky, Arthur Barclays Bank Spain 0065 1157 0021000973

2. Budovsky, Arthur Barclays Bank Spain 0065 1157 0021000981

3. Budovsky, Arthur Barclays Bank Spain 1157112703424154

4, Budovsky, Arthur Barclays Bank Spain 0065-1157-13-0023000385

5. Budovsky, Arthur Barclays Bank Spain 0011575322000213

6. Budoveky, Arthur Barclays Bank Spain 0011575323000285

i Budovsky, Arthur Hellenic Bank Cyprus 240-01~-510649-01

8. Budovsky, Arthur Hellenic Bank Cyprus 240-07-510649-01

9. Budovsky, Arthur Hellenic Bank Cyprus 240-XX-XXXXXXX-01

10. | Belanchuk, Arthur Attijariwafa Bank Morecco | MA007810000446700041001887
B.

1l. | El Amine, Attijariwafa Bank Morocco | MA007810000446500046028825
Azzeddine

12. | El Amine, Hellenic Bank Cyprus 240-07-568225-01
Agzeddine

 

 

 

 

 

 

 
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13. | Elano Consulting National Bank of Cyprus 400004781803
Ltd. Greece
14. | Figueroa, Kelsin Banque Marocaine Morocca MA00117800000048496000892395
Antonio Varela de Commerce
Exterieur (BMCE)
15. | Gardinia Ltd. Hellenic Bank Cyprus 240-01-577867-02
16. | Gardinia Ltd. Hellenic Bank Cyprus 240-07-577867-01
17. | Grupo Lulu Banco BAC San Jose | Costa 912049962
Rica
18. | Liberty Reserve Banco Credito Costa 101527143
Rica
19, | Liberty Reserve Banco Credito Costa 101527142
Rica
20. | Liberty Reserve Banco Credito Costa 101527144
Rica
21, | Liberty Reserve Banco Credito Costa 308-301-3083200
Rica
22. | Liberty Reserve Banco Credito Costa 302-301-302107678
Rica
23. | Liberty Reserve Grupo Mutual Costa 140-305-803301217563
Alajuela Rica
24. | Liberty Reserve Grupo Mutual Costa 140-305-803301218849
Alajuela Rica
25. | Liberty Reserve Grupo Mutual Costa 140-305-803301218988
Alajuela Rica
26. | Liberty Reserve Banco Lafise Costa 110024084
Rica
27. | Lorys Ltd. Hellenic Bank Cyprus 240-01-575911-61
28. | Lorys Ltd. Hellenic Bank Cyprus 240~-07-575911-01
29. | Makelina Limited Hellenic Bank Cyprus 240-07-539613-G61
30. | Makelina Limited Hellenic Bank Cyprus 240-01-539613-61
31. | Manueta Limited Hellenic Bank Cyprus CY58005002400002400753771401
32. | Marania Btd. ‘Hellenic Bank Cyprus 240+-01-527214-01
33. | Marania Ltd. Hellenic Bank Cyprus 240-XX-XXXXXXX-01
34. | Marania Ltd. Hellenic Bank Cyprus 240-26-521214-01
35. |Masfiloti Ltd. Hellenic Bank Cyprus 240-01-619815-61
36. | Masfiloti Ltd. Hellenic Bank Cyprus 240-07-619815-01
37. | Milomeri Ltd. Hellenic Bank Cyprus 240-01~619816-01
38. | Milomeri Ltd. Hellenic Bank Cyprus 240-07-619816-01
39. | Palodia Ltd. Hellenic Bank Cyprus 240-XX-XXXXXXX-01
4Q. | Palodia Ltd. Hellenic Bank Cyprus 240-XX-XXXXXXX-01
41. | Robix Services Rietumu Bank Latvia LV69 RTMB 9000608806731
Inc.
42, | Technocash Limited | Westpac Banking Austral 034702814055
032078 USD Corporation ia
Currency Account
43. | Technocash Limited | Westpac Banking Austral 032024037023
Corporation ia
44. | Travertine Ltd. Hellenic Bank Cyprus 2406-01-521212-01
45. | Travertine Ltd. Hellenic Bank Cyprus 240-07-521212-01
46. | Travertine Ltd. Hellenic Bank Cyprus 240-20-521212-01
47. | Unida Limited Cyprus Development | Cyprus Cv45014002010101010005029010

 

 

Bank PC

 

 

 

2

 

 

 

 

 
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48. |W.E.B.S.A. Banco Credito Costa 308-301-368202
Rica
49, | WebData Inc. SunTrust Bank USA 1000049971780
50. | Worldwide e- Banco Nacional Costa 100021546003625
Commerce Business Rica
SA
51. | Yassine, Ahmed Banque Marocaine Morocco MA0011780000048205000892589
de Commerce
Exterieur {BMCE)

 

 

 

b. any and all of the following property:

1.

Vesting 124 te 2141 MD Vijfhuizen,
Nederland, kadastraal bekend gemeente
Haarlemmermeer, sectie AC,
complexaanduiding 1359 A,
appartementenindex 51, uitmakende het
eenhenderd drieentwintig I zevenduizend
zeshonderd achtenvijftigste (123/7.658ste)
onverdeeld aandeel in de gemeenschap,
bestaande uit het gebouw genaamd “Vesting
5Huizen” met ondergrond, omvattende
zesenzestig (66) woningen, negenendertig
(39) bergingen en tachtig (8)
parkeerplaatsen, ten tijde van de splitsing
in appartementsrechten, kadastraal bekend
gemeente Haarlemmermeer, sectie AC, nummer
1356, groot twee en dextig are elf centiare
(32.11 are).

(Translation: Vesting 124, 2141 MD,
Vijfhuizen, Netherlands, cadastral
municipality of Haarlemmermeer, section AC,
complex designation 1359 A, apartment index
51 constituting the one hundred twenty-
three / seven thousand six hundred fifty-
eighth (123 / 7,658ste} undivided share in
the community, consisting of the building
called “Vesting 5Huizen” the foundation
with sixty-six (66) houses, thirty-nine
(39) storage units, and eighty (80) parking
spaces, at the time of the division into
condos, known in the registry as
Haarlemmermeer, section AC, number 13596,
measuring thirty-two thousand and eleven
square meters (3,211 square meters) );

3

 

 

 

 
 

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2, Finca # 1-326288-000 ubicada en Costa Rica,
San José, Escaza, San Rafael, Bello
Horizonte arriba, 200 metros sur de los
tangues del AYA, cédula juridica 3-101-
448089.

 

(TRANSLATION: Property # 1+326288-000
located in Costa Rica, San Jose, Escazu,
San Rafael, Bello Horizonte up, 200 meters
south of the tanks of the AYA, judicial
certificate 3-101-448089);

 

3. Finea # 1-228682-000 ubicada en Costa Rica,
San José, Escazti, San Rafael, de la sub-
estacién del ICE 150 metros norte, casa
esquinera a lado derecha, con muro color
gris, con piedra café, con reja color
marron, cédula juridica 3-101-482413.

 

(TRANSLATION: Property # 1-228682-000
located in Costa Rica, San Jose, Escazu,
San Rafael, 150 meters North of the sub-
station of the ICE, corner house on the
right hand side, with wali grey, with brown
stone, with brown grating, legal ID 3-101-
482413);

 

4. Finca # 21-518488-000 ubicada en Costa Rica,
San José, Escazi, San Rafael, de la sub-
estacién del ICE 150 metros norte, 15
metros ai oeste, se encuentra ubicada
contiguo a la vivienda de Grupo Santillana
Yamural, @sta se encuentra a nombre de 3-
102-618923 Sociedad de Responsabilidad
Limitada.

(TRANSLATION: Property # 1-518488-000
located in Costa Rica, San Jose, Escazu,
San Rafael, 150 meters north of the sub-
station of the ICE, 15 meters to the West,
is located adjacent to the dwelling of
Grupo Santillana Yamural, is on behalf of
3-102-618923 limited liability company);
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({a} and

Finca # 1-225782-000 ubicada en Costa Rica,
San José, Escazt, San Rafael, de la sub-
estacion del ICE 150 metros norte, 125
metros oeste, lote a mano ivquierda, la
cual se encuentra a nombre de Ufta Deda
S.A. cédula juridica 3-101-435126.

(TRANSLATION: Property # 1-225782-000
located in Costa Rica, San Jose, Escazu,
San Rafael, 150 meters north of the sub-
station of the ICE, 125 meters west, lot on
the left, which is in the name of Ufta Deda
S.A. legal ID 3-101-435126);

Finca # 1-605546-000 / 1-605547-000 / 1-
605548-000 ubicadas en Costa Rica, San
José, Escazt, San Rafael, de la sub-
estacién del ICE 150 metros norte, las
cuales se encuentran a nombre de 3-102-
575822 Sociedad de Responsabilidad
Limitada. Consta de tres lotes juntos.

(TRANSLATION: Property # 1-605546-C000 / 1-
605547-000 /1-605548-000 located in Costa
Rica, San Jose, Escazu, San Rafael, 150
meters north of the sub-station of the ICE,
which are on behalf of 3-102-575822 limited
liability company. [It consists of three
lots together) ;

Finca # 1-403624-000 ubicada en Costa Rica,
San José, Santa Ana, del Restaurante el
Restribo 100 metros oceste, 150 metros sur,
la cual se encuentra a nombre de
Corporaci6én Lubamyra Love S.A. cédula
juridica 3-101-506508.

(TRANSLATION: Property # 1-403624-000
located in Costa Rica, San Jose, Santa Ana,
100 meters west of the Restribo Restaurant,
150 meters South, which is on behalf of
Corporation Lubamyra Love S.A. 3-101~-506508
legal identity};

(b), collectively, the “Specific Property”);

5
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WHEREAS, the Preliminary Order of Forfeiture directed
the United States to publish, for at least thirty (30) consecutive
days, notice of the Preliminary Order of Forfeiture, notice of the
United States’ intent to dispose the Specific Property, and the
requirement that any person asserting a legal interest in the
Specific Property to file a petition with the Court in accordance
with the requirements of Title 21, United States Code, Sections
853(n)(2) and (3). The Preliminary Order of Forfeiture further
stated that the United States could, to the extent practicable,
provide direct written notice to any person known to have an
alleged interest in the Specific Property and as a substitute for
published notice as to the person notified;

WHEREAS, the provisions of Title 21, United State Code,
Section 853{n) (1), Rule 32.2 tb) (6) of the Federal Rules of Criminal
Procedure, and Rules G(4)(a)fiv}(C) and G(5)(a) (ii) of the
Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions, require publication of a notice of forfeiture
and of the Government’s intent to dispose of the Specific Property
before the United States can have clear titie to the Specific
Property;

WHEREAS, the United States sent notice of the Consent

Preliminary Order of Forfeiture, pursuant to Rule 32.2(b) (6) of
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the Federal Rules of Criminal Procedure, to the following parties

{the “Noticed Parties”):

1.

ADN Solutions S.A.

300 N, 300 E Final Boulevar
Rohrmoser, 3790,
1175-1200 Alajuela

Costa Rica

Admiral Trading 5.A.
c/o Ahmed Yassine
Heredia, Costa Rica

Admiral Trading §.A.
to a Fastmail email account
associated with this entity

Chukharev, Maxim

c/o Sarah Kunstler, Esq.

Law Office of Sarah Kunstler
315 Flatbush Avenue #103
Brooklyn, New York 11217

Chukharev, Maxim
c/o Sarah Kunstler, Esq.
25 Eighth Avenue
Brooklyn, New York 11217

Dagensia Finance
Daniel Houska

Roman Valihrach

Zarami 90, “Alin, 76001
Czech Republic

Dagensia Finance

Daniel Houska

Roman Valihrach

Prague 1, Washingtonova 1624/5,
Prague, Czech Republic, 110 00

 

 

 

 

 

 

 

 

 

 

 
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10.

11.

12.

13.

14.

15.

16.

Dagensia Finance

Daniel Houska

Roman Valinrach

to a Gmail email account associated
with this entity

Ecardone Bancorp Limited
Daniei Houska
Prague, Czech Republic, 530 09

Ecardone Limited

Aukland Compliance Limited
60 Cook Street, Suite 324
Auckland, New 4ealand

El Amine, Azzeddine

c/o Aaron Mysliwiec, Esq.
Miedel & Mysliwiec, LLP
111 Broadway, Suite 1401
New York, New Yok 10006

Elano Consulting

Lordos Waterfront

and Floor Office 201

165 Spyros Araouzous Street
3036 Limassol, Cyprus

Gardinia Limited
Limassol, Cyprus

Goendeavor
Nagoor Basha Shaik
KPHB, Andhra Pradesn, India

Goendeavor

Nagoor Basha Shaik

New Bowenpally, Hyderabad
Andhra Pradesh 500010, India

Goendeavor
Nagoor Basha Shaik
Belize City, Belize

 

 

 

 

 

 
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17.

is.

19.

20.

21.

22,

23.

24,

25.

Goendeavor

Nagoor Basha Shaik

to two email accounts associated with
this entity

Gold Mediator

c/o Sutrisno Suryoputro
J1. Srondol Indah
Semarang, Indonesia

Goldexpay

Grandeco Corp.

#1 Mapp Street
Belize City, Belize

Goldexpay

Grandeco Corp.

to a Gmail email account associated
with this entity

Goldexpay
Dmitiry Grushetskiy
Zapozizhzhia, Ukraine 6900

Gursky, Anatoly
Wuppertal, Germany

Hidalgo, Alan

c/o ABE&P

Attn: Erick Ramirez Barahona
Edificio AB&P

Barrio Francisco Peralta

San Jose, Costa Rica

IndoChanger

Global Net Pesada

c/o Eko Untung NUGROHO

Jawa Tengah 50268, Indonesia

Instant Exchange Limited
Vu Van Lang,
Bast-Wanchai, Hong Kong
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26.

27.

28.

29,

30.

31.

32.

33.

34,

Instant Exchange Limited
Vu Van Lang,

28/2000 Van Vao, Ngo Quyen,
Hai Phon, Vietnam

Instant Exchange Limited

Vu Van Lang

to a Gmail email account associated
with this entity.

Jimenez Bolanos, Maycol Jose
San Pedro, Costa Rica

Jimenez Bolanos, Mycol Jose
to a Gmail email account associated
with this individual

Liberty Reserve §8.A.

c/o Allan Hidalgo

c/o Brick Ramirez Barahona
Edificio AB&P

Barrio Francisco Peralta
San Jose, Costa Rica

Lorys Limited
3603 Limassol, Cyprus

Makelina Limited

165 Spyrou Araouzou Street
2nd Floor

3035 Limassol, Cyprus

Marania Limited
Intershore Chambers
Post Office Box 4342
Road Town Tortola
British Virgin Islands

Melentin, Arthur

c/o Guy Petrillo, Esq.
Petrillo, Klein & Boxer, LLP
655 Third Avenue, 22nd Floor
New York, New York 10017

10
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35.

36.

37.

38.

39.

40.

41.

42.

43.

44,

45.

46.

Merkushin, Alexander
Queensway, Hong Kong

Minaysan, Martiros
Limassol, Cyprus

Nwobu, Emeka Kenechukwu
Awka, Anambra State, Nigeria

Nwobu, Emeka Kenechukwu
to a Gmail email account associated
with this individual

Paviukhin, Gleb
Zwaneburg, Netherlands

Peytrequin Rivera, Luis Diego
San Jose, Tibas
Costa Rica

Peytrequin Rivera, Luis Diego
to two email accounts associated with
this individual

Robix Services Incorporated
Cuba Avenue 34th Street
Building No. 34-20

Panama 5, Panama

Robix Services Incorporated
Boitsova Street Unit 22 Court 3
Moscow, Russia

Swiftexchanger
Freddy Ledezma Garcia,
Barvo Heredia, Costa Rica

Technocash Limited
c/o Paul Monsted
Pennant Hills NSW 2120

Technocash Limited

c/o Raymond Palkans
Kings Langley NSW 2147

il
 

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A7. Technocash Limited
c/o Pierre Mitchell
Nelson, New 4ealand

48. Technocash Limited
Sydney NSW 2000

49, Travertine Limited
Blake Building
Suite 302
Corner Hutson & Eyre Street
Belize City, Belize

50. Varela, Kelsin
San Jose, Costa Rica

51. Varela, Kelsin
Vij fhuizen
Netherlands

52, Varela, Kelsin
to two email accounts associated with
this individual

53. Webnet Digital Solutions
Johnson Effiong Usung
No 49, Location Road
Oyigbo, Port Harcourt
Rivers State, Nigeria

54. Webnet Digital Solutions
Johnson Effiong Usung
to an email account associated with
this entity

55. WM-Center
HWL Ebsworth
Rebecca Jaffe
Melbourne Victoria 3000

56. WM-Center

Pavel Popkov
Novosibirsk, Russia

12
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57. WM-Center
Intercontinental Trade & Services SA
Pavel Popkov
Sevik Asawov
Avenida Samuel Lewis
Panama City, Panama

58. WM-Center
to an email account associated with
this entity

59. WMRIK
Roman Boyarkin
Russia, Irkutsk

60. WMRIK
Roman Boyarkin
to an email account associated with
this individual
61. Yassine, Ahmed
c/o Gloria Navas, Esq.
San José, Costa Rica
62. Yassine, Ahmed

to an email account associated with
this tndividual

WHEREAS, the Noticed Parties are the only parties known
by the Government to have a potential interest in the Specific
Property;

WHEREAS, thirty (30) days have expired since notice of
the Consent Preliminary Order of Forfeiture was sent;

WHEREAS, the Notice of Forfeiture and the intent of the
United States to dispose the Specific Property was posted on an

official government internet site (www.forfeiture.gov), beginning

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on February 25, 2016, for thirty (30) consecutive days, through
March 25, 2016, pursuant to Rule G{4) (a) (iv) (C) of the Supplemental
Rules for Admiralty and Maritime Claims and Asset Forfeiture
Actions and proof of such publication was filed with the Clerk of
the Court on May 5, 2017 (Docket Entry 411); and

WHEREAS, pursuant to Title 21, United States Code,
Section 853(n) (7), the United States shail have clear title to any
forfeited property if no petitions for a hearing to contest the
forfeiture have been filed within thirty (30) days of final
publication of notice of forfeiture as set forth in Title 21,
United States Code, Section 853(n) (2);

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED
THAT:

1. All right, title and interest in the Specific
Property is hereby forfeited and vested in the United States of
America, and shall be disposed of according to law.

2, Pursuant to Title 21, United States Code, Section
853{n)(7) the United States of America shall and is hereby deemed
to have clear title to the Specific Property.

3, The United States Department of Treasury (or its
designee) shall take possession of the Specific Property and
dispose of the same according to law, in accordance with Title 21,

United States Code, Section 853(h).
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4, The Clerk of the Court shall forward three
certified copies of this Final Order of Forfeiture to Assistant
United States Attorney Alexander J. Wilson, Chief, Money
Laundering and Asset Forfeiture Unit, United States Attorney’s
Office, Southern District of New York, One St. Andrew’s Plaza, New
york, New York 10007.

50 ORDERED:
Demis My nih 2, 20.18

HONORABLE, DINTSE L, COTE DATE
UNITED STATHS DISTRICT JUDGE

15

 

 

 
